       Case 4:06-cr-00319-BRW           Document 125         Filed 09/25/07      Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                                                       Judge : Bill Wilson
counsel: Jana Harris                                                  Court Reporter: C. Newburg
counsel:                                                            Courtroom Deputy: M. Johnson
                                                                                      Interpreter:
       vs                                                                       USPO: T. Guerra

ANTONIA L. ADAMS                                                           Date: September 25, 2007
counsel: Sara Merritt
counsel:                                                         CASE NO. 4:06CR00319-01-WRW

                                     SENTENCING MINUTES
Begin: 2:05 p.m.                                                                      End: 2:30 p.m.

Court finds ( X ) grounds ( X ) 5k1.1 ( ) other ( ) no grounds: for departure
60 MONTHS BOP on count one and 90 MONTHS BOP on count 31 to run concurrently; residential
substance abuse treatment; education and vocational programs during incarceration.

SUPERVISED RELEASE: 5 YEARS                                                           PROBATION:

SPECIAL CONDITIONS OF SUPERVISED RELEASE OR PROBATION:
( X ) Defendant shall participate, if deemed necessary by the probation officers, in a substance abuse
treatment program which may include testing, outpatient counseling, and/or residential treatment and
shall abstain from the use of alcohol throughout the course of any treatment.
( ) Defendant shall participate in the Home Detention program for a period of ____ months. During
this time, defendant will be allowed to leave his residence under conditions set by the U.S. Probation
Office. Defendant will be subject to the standard conditions of Home Detention adopted for use in the
Eastern District of Arkansas which ( )does ( )does not include the requirement to wear an electronic
monitoring devise and to follow EM procedures specified by the Probation Officer. Electronic
Monitoring shall be paid by the U.S. Probation Office.
( ) Defendant shall participate as directed in mental health treatment as directed by USPO.
( X ) Mandatory drug testing shall apply.
( ) Supervised release is to be administered by the district where the defendant is a legal resident
and/or the district where a suitable release plan has been developed.
( X ) Financial Disclosure.
( X ) The defendant shall cooperate in the collection of DNA as directed by the probation officer.
( X ) Defendant is remanded to custody of USM.
( X ) No employment in an FDIC insured institution or Federal Credit Union.
( X ) Appeal rights
deft w/draws motions to continue sentencing; motion to relieve counsel; obj to PSR re para 25 granted;
obj par 41 overruled; PSR adopted; statements made to Court by deft counsel and deft; court
recommend 500 hour drug program; recommend credit for time served in federal custody;
recommend BOP in Middleton, TX; Texarkana, TX or Forrest City, AR.

Fine:     ___________N/A______________ To be paid:____________________________________
Restitution: _$35,197.74 joint & several___ To be paid: _____Payment Schedule_______________
Special Assessment:___$200.00__________ To be paid: ____Immediately_____________________
